               Case 2:15-cr-00140-DC Document 210 Filed 08/27/18 Page 1 of 3


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     Attorney for Defendant
 5
     JESSICA CORRO
 6

 7

 8                                UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                          Case No.: 2:15-CR-140 MCE
12
                    Plaintiff,
13
     vs.                                                STIPULATION AND [PROPOSED] ORDER
14                                                      MODIFYING DEFENDANT’S SPECIAL
     JESSICA CORRO,                                     CONDITIONS OF RELEASE
15

16                  Defendant.

17

18

19

20          Defendant Jessica Corro is presently released on pre-trial conditions after being charged
21
     by Indictment as a participant in a conspiracy to distribute methamphetamine. Her release
22
     conditions include drug and/or alcohol testing as directed by her pretrial services officer (Special
23
     Condition Number 10, Docket Entry 15). The parties to this action, Plaintiff United States of
24

25   America by and through Assistant United States Attorney Paul Hemesath, and Defendant Jessica

26   Corro by and through her attorney Todd D. Leras, stipulate as follows:
27
     ORDER MODIFYING PRE-TRIAL
28   RELEASE CONDITIONS
                 Case 2:15-cr-00140-DC Document 210 Filed 08/27/18 Page 2 of 3


 1          1.    Following a continued detention hearing, held on July 15, 2015, Chief United States
 2
                  Magistrate Judge Edmund F. Brennan ordered Jessica Corro released on a $100,000
 3
                  co-signed unsecured bond and various special conditions of release.
 4
            2. Ms. Corro lives in Southern California and is presently supervised by a pretrial
 5

 6                services officer in the Central District of California.

 7          3. On August 22, 2018, Pretrial Services Officer Alicia Mirgain notified the parties that
 8
                  Ms. Corro submitted to a drug test that returned with a positive screen for cocaine on
 9
                  July 31, 2018. Given Ms. Corro’s compliance with her conditions no formal action is
10
                  requested as to her release status. Pretrial Services has increased the frequency of
11

12                Ms. Corro’s drug testing and is requesting the addition of a term providing for

13                outpatient counseling.
14
            The parties therefore request modification of Ms. Corro’s Special Conditions of Release
15
     to add outpatient counseling as directed by the pretrial services officer.
16
            Assistant U.S. Attorney Paul Hemesath has reviewed this stipulation and proposed order
17

18   and authorized (via email) Todd Leras to sign it on his behalf.

19

20
     DATED: August 23, 2018
21                                                           By      Todd D. Leras for
                                                                     PAUL HEMESATH
22                                                                   Assistant United States Attorney
23
     DATED: August 23, 2018
24                                                           By      /s/ Todd D. Leras
                                                                     TODD D. LERAS
25                                                                   Attorney for Defendant
                                                                     JESSICA CORRO
26

27
     ORDER MODIFYING PRE-TRIAL
28   RELEASE CONDITIONS
               Case 2:15-cr-00140-DC Document 210 Filed 08/27/18 Page 3 of 3


 1                                                ORDER
 2
             BASED ON THE REPRESENTATIONS AND STIPULATION OF THE PARTIES, it is
 3
     hereby ordered that the following Special Condition of Release be added to Ms. Corro’s release
 4
     conditions:
 5

 6           You must participate in a program of medical or psychiatric treatment, including

 7   treatment for drug or alcohol dependency, as approved by the pretrial services officer. You must
 8
     pay all or part of the costs of the counseling services based on your ability to pay, as determined
 9
     by the pretrial services officer.
10
             IT IS SO ORDERED.
11

12

13   DATED: August 24, 2018
14

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16                                              HONORABLE EDMUND F. BRENNAN
                                                CHIEF UNITED STATES MAGISTRATE JUDGE
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27
     ORDER MODIFYING PRE-TRIAL
28   RELEASE CONDITIONS
